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                          UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF LOUISIANA
                              SHREVEPORT DIVISION


 UNITED STATES OF AMERICA                                  CRIMINAL NO. 17-00113-01

 VERSUS                                                    JUDGE S. MAURICE HICKS, JR.

 WILLIAM HARRY DISHINGER                                   MAGISTRATE JUDGE HORNSBY



                                        ORDER

         The Report and Recommendation of the Magistrate Judge having been considered,

 and the parties having waived their objections thereto;

         IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that Defendant’s guilty

 plea is accepted, and the court hereby adjudges Defendant guilty of the offense charged

 in Count 1 of the Indictment.

         THUS DONE AND SIGNED in Shreveport, Louisiana, this 20th day of September,

 2017.
